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                        UNITED STATES DISTRICT COURT

                       WESTERN DISTRICT OF LOUISIANA

                               LAFAYETTE DIVISION

 UNITED STATES OF AMERICA                 *   CRIMINAL NO. 6:23-CR-00063-01
                                          *
 VERSUS                                   *   JUDGE JOSEPH
                                          *
 DUSTY GUIDRY                      (01)   *   MAGISTRATE JUDGE WHITEHURST

                                          ORDER

       CONSIDERING THE FOREGOING, UNOPPOSED MOTION                   TO   CONTINUE

 SENTENCING DATE [Doc. 33];

       IT IS HEREBY ORDERED AND ADJUDGED that the Motion is

 GRANTED, and the sentencing scheduled for March 22, 2024, is hereby continued

 for the reasons stated therein.

       IT IS FURTHER ORDERED that the three (3) related cases, Criminal Docket

 Numbers 6:23-CR-00063-01 (the instant matter), 6:23-CR-00269-01 (U.S. v. Joseph

 Prejean), and 6:23-CR-00294-01 (U.S. v. Leonard C. Franques), currently scheduled

 for sentencings on March 22, 2024, March 14, 2024 and April 12, 2024, respectively,

 be re-set for sentencing on the same date, October 24, 2024. Defendant Dusty

 Guidry’s sentencing hearing is therefore re-set for 2:00 p.m., on October 24, 2024,

 in Courtroom 1, Lafayette, Louisiana.

       THUS DONE AND SIGNED in Chambers on this 7th day of March, 2024.




                                              HONORABLE DAVID C. JOSEPH
                                              United States District Judge
